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                IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



  DISABILITY RIGHTS NEW                       :
  JERSEY                                      :     Case No. 2:22-cv-01240
  210 South Broad Street, 3rd Floor           :
  Trenton New Jersey 08608                    :     Judge: Brian R. Martinotti
                                              :
                     Plaintiff,               :     Magistrate Judge: James B.
                                              :     Clark, III
  v.                                          :
                                              :
  ALLIANCE HC 11 LLC                          :
  d/b/a WOODLAND                              :     ORDER GRANTING
  BEHAVIORAL AND NURSING                      :     PRELIMINARY
  CENTER                                      :     INJUNCTION
  99 Mulford Road                             :
  Andover, New Jersey 07821                   :
                                              :
                     Defendant.               :



       THIS MATTER having been opened to the Court by Plaintiff Disability

Rights New Jersey (Plaintiff or Disability Rights NJ), and by their undersigned

attorneys, upon motion for an order granting preliminary injunction, based on the

facts set forth in the Declarations of Gloria Jill Hoegel, Gwen Orlowski, Esq.,

Michael R. Brower, Esq., and Elena Kravitz, and the accompanying Memorandum

of Law, and the Court having heard the argument of counsel,

       IT APPEARING TO THE COURT THAT
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  1. Plaintiff is likely to succeed on the merits of its action; and

  2. Plaintiff is currently sustaining and is at risk in the future of sustaining

     immediate and irreparable injury, including its inability to meet its federal

     statutory mandate to protect and advocate for the rights of individuals with

     disabilities at Woodland; and

  3. The injuries suffered and to be suffered outweigh any harm that the relief

     will inflict upon the Defendant; and

  4. The relief sought serves the public interest; and

  5. The injuries being sustained by Plaintiff and which may be sustained in the

     future are irreparable because this Court has found that the injury and risk of

     injury is of the nature of a protection and advocacy’s agency inability to

     meet its federal statutory mandate to protect and advocate for the rights of

     disabled people, such that there will be no adequate remedy in damages; and

  6. The submission by Plaintiffs with respect to this motion, including the

     Declarations of Declarations of Gloria Jill Hoegel, Gwen Orlowski, Esq.,

     Michael R. Brower, Esq., and Elena Kravitz, as well as the allegations made

     in Plaintiff Verified Complaint, have sufficiently demonstrated that the

     balance of the equities favors Plaintiff;

  7. Mr. Slocum of Lowenstein Sandler, LLP accepted e-mail service of process

     of the motion; and



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   8. Waiver of bond is appropriate because this case involves enforcement of

      important federal rights and public interests.
                     14th day of ______________,
      IT IS, on this _____        MARCH          2022, ORDERED that

Plaintiff’s Application for Preliminary Injunction is GRANTED;

      IT IS FURTHER ORDERED THAT:

      Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, until the

Court rules otherwise, Defendant Alliance HC 11 LLC d/b/a Woodland Nursing

Home and Behavioral Center (Defendant), its officers, agents, servants, employees,

and all those in privity or acting in concert with Defendant, be and hereby are

preliminarily enjoined from directly or indirectly violating Plaintiff’s rights under

the Protection and Advocacy for Individuals with Mental Illness Act, the

Protection and Advocacy for the Developmentally Disabled Act, and the Protection

and Advocacy of Individual Rights Act, and Defendant is hereby ordered to:

   1. Provide Plaintiff Disability Rights NJ reasonable unaccompanied access,

      including the ability to communicate privately and confidentially with

      individuals with disabilities, and to access their records at Woodland

      pursuant to the Disability Rights NJ’s federal authority;

   2. Provide Plaintiff Disability Rights NJ with reasonable unaccompanied

      access to the facility at Woodland, including access to persons with

      knowledge of alleged abuse and neglect at the facility;



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  3. Provide notice of this order to all administrators, employees and staff at

     Woodland;

  4. Counsel for the parties shall notify the Court if any party fails to comply

     with this order; and

     IT IS FURTHER ORDERED THAT:

  1. No bond is required because this case involves enforcement of important

     federal rights and public interests; and

  2. Counsel for the parties shall meet and confer and submit a proposed briefing
                                                                3
     schedule to the court on Plaintiff’s Motion no later than _____ days from the

     date of this order; and

  3. In the event of any disagreement concerning the provisions of this Order or

     the parties’ respective compliance therewith, counsel for the parties shall

     meet and confer in good faith prior to any application being submitted to the

     Court.

                               _____ ________________________________
                               Hon. Brian R. Martinotti, U.S.D.J.




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